Case 1:03-cr-20483-JEM Document 968 Entered on FLSD Docket 11/01/2007 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISIOIN
                            CASE NO. 07-21109-CIV-COOKE/WHITE

  DEANA HONEYCUTT,

         Movant,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  ___________________________________/

       ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         This matter was referred to the Honorable Patrick A. White, United States Magistrate Judge,

  for a Report and Recommendation on Deana Honeycutt's Motion to Vacate Sentence. [D.E. 2]. On

  August 20, 2007, Judge White issued a Report and Recommendation, which recommended that the

  Motion to Vacate Sentence be denied. [D.E. 7]. Ms. Honeycutt filed a Motion for Reconsideration

  in which she writes that she is appealing Judge White's decision to deny her Motion to Vacate

  Sentence. [D.E. 8]. I am, therefore, treating her Motion for Reconsideration as an objection to Judge

  White's Report.

         After conducting a de novo review of the record and Ms. Honeycutt's objection, I affirm and

  adopt Judge White's Report and Recommendation. Ms. Honeycutt's Motion to Vacate Sentence

  [D.E. 1] is DENIED. All Pending Motions are DENIED AS MOOT. This case shall be CLOSED.

         DONE AND ORDERED in Chambers in Miami, Florida, this 29th day of October 2007.
Case 1:03-cr-20483-JEM Document 968 Entered on FLSD Docket 11/01/2007 Page 2 of 2




  Copies furnished to:
  All counsel of record

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